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 UNITED STATES DISTRICT COURT                                  EASTERN DISTRICT OF TEXAS


 UNITED STATES OF AMERICA                          §
                                                   §
 versus                                            §            CASE NO. 4:08-CR-178
                                                   §
 ANTONIO MURDOCK (2)                               §

                      ORDER ADOPTING REPORT AND
            RECOMMENATION OF UNITED STATES MAGISTRATE JUDGE

          Came on for consideration the above-referenced criminal action, this court having heretofore

 referred the request for revocation of Defendant’s supervised release to the United States Magistrate

 Judge for proper consideration. The court has received the report of the United States Magistrate

 Judge pursuant to its order. The parties having filed no objections to the magistrate judge’s findings,

 the court is of the opinion that the findings and conclusions of the Magistrate Judge are correct.

          It is, therefore, ORDERED that the Magistrate Judge’s Report is ADOPTED as the opinion

 of the Court. It is further ORDERED that Defendant’s supervised release is hereby REVOKED.

 It is further ORDERED that Defendant be committed to the custody of the Bureau of Prisons to be

 imprisoned for a term of ten (10) months, with two (2) years supervised release to follow. Sentence

 to run concurrently with sentence in 4:17-cr-137. The Court further recommends that Defendant’s

 term of imprisonment be carried out in a facility as close to Dardanelle, Arkansas, as possible, if

 appropriate.

          IT IS SO ORDERED.
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         .
         SIGNED at Beaumont, Texas, this 7th day of September, 2004.
         SIGNED at Beaumont, Texas, this 11th day of October, 2017.




                                        ________________________________________
                                                    MARCIA A. CRONE
                                             UNITED STATES DISTRICT JUDGE




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